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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                             Case No. 98-cr-40043-JPG

  AGENADA FELIPE BAILEY,

                Defendant.

                             JUDGMENT IN A CRIMINAL CASE

        Decision by Court. This matter having come before the Court on the government’s

 motion to dismiss, and the Court having rendered a decision,

        IT IS ORDERED AND ADJUDGED that all charges against Agenada Felipe Bailey in

 this case are DISMISSED.


        DATED: May 2, 2007

                                                    NORBERT G. JAWORSKI, CLERK

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                                                    By:s/Deborah Agans, Deputy Clerk


 APPROVED:        s/ J. Phil Gilbert
               J. PHIL GILBERT
               U.S. District Judge
